                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO

    UNITED STATES OF AMERICA,                             )
                                                          )
                   Plaintiff,                             )
                                                          )
          vs.                                             )                       Cr. No. 17-2558 MV
                                                          )
    ARTHUR PERRAULT,                                      )
                                                          )
                   Defendant.                             )
                                                          )

              UNITED STATES’ PROPOSED SECOND AMENDED EXHIBIT LIST

         The United States respectfully submits this Proposed Second Amended 1 Exhibit List.

The United States reserves the right to amend this list as necessary before and during trial. The

following exhibits may be offered as evidence during the United States’ case-in-chief include:

    Ex. No.     Witness               Date        Obj.        Adm.    Description of Evidence

    1                                                                 Photographs taken at St. Bernadette’s
                                                                      Catholic Church
    2                                                                 Photographs taken at Kirtland Air
                                                                      Force Base
    3                                                                 Photographs taken at Santa Fe
                                                                      National Cemetery
    4                                                                 Photographs from St. Pius High
                                                                      School
    5                                                                 Photographs of Defendant

    6                                                                 Photographs of John Doe 1

    7                                                                 Photographs of John Doe 2

    8                                                                 Photographs of John Doe 3

    9                                                                 Photographs of John Doe 4




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 The only amendment contained in this exhibit list is the addition of Exhibit 29, an aerial map of the area
surrounding Our Lady of Guadalupe Parrish.
10       Photographs of John Doe 5

11       Photographs of John Doe 6

12       Photographs of John Doe 7

13       Photographs of John Doe 8

14       Photographs of John Doe 9

15       Recordings of Statements by
         Defendant
16       Transcripts of Recordings of
         Statements of Defendant
17       Letter from Defendant to mother of
         John Doe 3
18       Written statement of John Doe 3

19       Letter from Defendant to King of
         Morocco
20       Letter from Defendant to New
         Mexico judge
21       St. Bernadette’s funeral log

22       Records of Archdiocese of Santa Fe

23       Air Force records

24       Air National Guard records

25       Map of Kirtland Air Force Base

26       Map of Santa Fe National Cemetery

27       Documents in support of testimony of
         Dr. Gail Goodman
28       St. Bernadette’s Rectory Floor Plan

29       Map of Our Lady of Guadalupe
         Parish and Surrounding Area




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                                           Respectfully submitted,


                                           JOHN C. ANDERSON
                                           United States Attorney


                                           /s
                                           SEAN J. SULLIVAN
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I hereby certify that a copy of this
motion was delivered via CM/ECF
to counsel for defendants.
 filed electronically
Holland S. Kastrin




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